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 6
                             UNITED STATES DISTRICT COURT
 7                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8 LAKE VIEW WEST CONDOMINIUM
   ASSOCIATION, a Washington Non-Profit
 9                                                     NO.
   Corporation,
10
                           Plaintiff,                  COMPLAINT FOR DECLARATORY
11 v.                                                  RELIEF, BREACH OF CONTRACT, BAD
                                                       FAITH, CONSUMER PROTECTION ACT
12 TRAVELERS PROPERTY CASUALTY                         VIOLATIONS, AND DAMAGES
13 COMPANY OF AMERICA, a Connecticut                   JURY DEMAND
   corporation; TRAVELERS PROPERTY
14 CASUALTY INSURANCE COMPANY, a
   Connecticut corporation, THE TRAVELERS
15 COMPANIES, INC., a Minnesota corporation;
   THE AETNA CASUALTY AND SURETY
16 COMPANY, a Connecticut Corporation;

17 TRAVELERS CASUALTY AND SURETY
   COMPANY, a Connecticut corporation; THE
18 TRAVELERS INDEMNITY COMPANY, a
   Connecticut corporation; THE TRAVELERS
19 INDEMNITY COMPANY OF AMERICA, a
   Connecticut corporation; and DOE INSURANCE
20 COMPANIES 1-10,

21
                                Defendants.
22

23         The Lake View West Condominium Association (the “Association”) alleges as follows:

24                                    I.      INTRODUCTION

25 1.1     This is an action for declaratory judgment (including money damages), breach of contract

26 bad faith, Consumer Protection Act (“CPA”) violations, and money damages seeking:

27
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                                                                   2701 First Ave., Suite 430
     BREACH OF CONTRACT, BAD FAITH,                                  SEATTLE, WA 98121
     CONSUMER PROTECTION ACT                                 PHONE 206.388.0660 FAX 206.286.2660
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 1         (A)     A declaration of the rights, duties and liabilities of the parties with respect to certain

 2 controverted issues under Travelers Property Casualty Company of America, Travelers Property

 3 Casualty Insurance Company, The Travelers Companies, Inc., The Aetna Casualty and Surety

 4 Company, The Travelers Casualty and Surety Company, The Travelers Indemnity Company, and

 5 The Travelers Indemnity Company of America’s (collectively “Travelers”) policies issued to the

 6 Association. The Association is seeking a ruling that each of Travelers’ policies provide coverage

 7 for hidden damage at the Lake View West condominium complex and that Travelers is liable for

 8 money damages for the cost of repairing hidden damage at the Lake View West condominium

 9 complex.

10         (B)     Attorneys’ fees (including expert witness fees) and costs.

11         (C)     Money damages for the cost of repairing covered damage, breach of contract, bad

12         faith, and violations of the CPA.

13         (D)    Any other relief the Court deems just and equitable.

14                        II.     PARTIES AND INSURANCE CONTRACTS

15 2.1     The Association. The Association is a nonprofit corporation organized under the laws of the

16 state of Washington with its principal place of business located in King County, Washington. The

17 Association has the duty to maintain the common elements and any limited common elements of

18 the Lake View West Condominium complex located at 1028 Lakeview Boulevard East, Seattle,

19 WA 98102. The Association consists of one five-story buildings comprised of 12 residential units.

20 2.2     Travelers of America. Travelers Property Casualty Company of America (“Travelers

21 America”) is domiciled in Connecticut with its principal place of business in Hartford,

22 Connecticut. On information and belief Travelers of America sold property insurance policies to

23 the Association. The Association is seeking coverage under all Travelers of America policies. The

24 Travelers of America policies identify the Lake View West Condominium complex as covered

25 property.

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 1 2.3     Travelers Property. Travelers Property Casualty Insurance Company (“Travelers Property”)

 2 is domiciled in Connecticut with its principal place of business in Hartford, Connecticut. On

 3 information and belief Travelers Property sold property insurance policies to the Association. The

 4 Association is seeking coverage under all Travelers Property policies. The Travelers Property

 5 policies identify the Lake View West Condominium complex as covered property.

 6 2.4     Travelers Companies. The Travelers Companies, Inc. (“Travelers Companies”) is domiciled

 7 in Minnesota with its principal place of business in New York, New York. Travelers Companies

 8 via its subsidiaries sold property insurance policies to the Association. The Association is seeking

 9 coverage under all Travelers Companies policies. The Travelers Companies policies identify the

10 Lake View West Condominium complex as covered property.

11 2.5     Aetna Casualty. The Aetna Casualty and Surety Company (“Aetna Casualty”) issued

12 property policies to the Association. On information and belief Aetna Casualty is a Connecticut

13 domiciled insurer with its principal place of business in Hartford, Connecticut. On information and

14 belief Aetna Casualty sold property insurance policies to the Association. The Association is

15 seeking coverage under all Aetna Casualty policies issued to the Association. The Aetna Casualty

16 policies identify the Lake View West Condominium complex as covered property.

17 2.6     Travelers Casualty. Travelers Casualty and Surety Company (“Travelers Casualty”) is a

18 Connecticut domiciled insurer with its principal place of business in Hartford, Connecticut.

19 Travelers Casualty is the successor in interest to Aetna Casualty and is liable for all damages owed

20 under the Aetna Casualty policy.

21 2.7     Travelers Indemnity. The Travelers Indemnity Company (“Travelers Indemnity”) is a

22 Connecticut domiciled insurer with its principal place of business in Hartford, Connecticut. On

23 information and belief Travelers Indemnity sold property insurance policies to the Association.

24 The Association is seeking coverage under all Travelers Indemnity policies issued to the

25 Association. The Travelers Indemnity policies identify the Lake View West Condominium

26 complex as covered property.

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 1 2.8     Travelers Indemnity of America. The Travelers Indemnity Company of America

 2 (“Travelers Indemnity of America”) is a Connecticut domiciled insurer with its principal place of

 3 business in Hartford, Connecticut. On information and belief Travelers Indemnity of America sold

 4 property insurance policies to the Association. The Association is seeking coverage under all

 5 Travelers Indemnity of America policies issued to the Association. The Travelers Indemnity of

 6 America policies identify the Lake View West Condominium complex as covered property.

 7 2.10    Travelers. Travelers America, Travelers Property, Travelers Companies, Aetna Casualty,

 8 Travelers Casualty, Travelers Indemnity and Travelers Indemnity of America are collectively

 9 referred to herein as “Travelers.” Travelers issued insurance policies to the Association including

10 but not limited to Policy No. I-680-925W336-2-TIA-01, I-680-925W336-2-TIA-00, I-680-

11 925W336-2-TIA-99, I-680-925W336-2-TIA-98, I-680-925W336-2-TIA-97 and I-680-925W336-

12 2-TIA-96. The Association is seeking coverage against all Travelers policies issued to the

13 Association.

14 2.11 Doe Insurance Companies 1–10. Doe Insurance Companies 1–10 are currently unidentified

15 entities who, on information and belief, sold insurance policies to the Association that identify the

16 Lake View West condominium complex as covered property.

17 2.12    Lake View West Insurers. Travelers and Doe Insurance Companies 1–10 shall be

18 collectively referred to as the “Lake View West Insurers.”

19 2.13    Lake View West Policies. The policies issued to the Association by the Lake View West

20 Insurers shall be collectively referred to as the “Lake View West Policies.”

21                                   III.    JURISDICTION AND VENUE

22 3.1     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332

23 (diversity jurisdiction) as the parties are completely diverse in citizenship and the amount in

24 controversy exceeds $75,000.

25 3.2     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) as the Lake View West

26 Insurers marketed and sold insurance to the Association in King County; a substantial part of the

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 1 events giving rise to the claim occurred in King County; and the insured condominium building is

 2 located in King County.

 3                                           IV.    FACTS
     4.1    Incorporation by Reference. The Association re-alleges the allegations of paragraphs 1.1
 4

 5 through 3.2, above, as if fully set forth herein.

 6 4.2      Tender to Lake View West Insurers. On June 28, 2019, the Association tendered its claim

 7 to Travelers for hidden recently discovered at the Lake View West condominium complex.

 8
     4.4    Joint Intrusive Investigation. The Association hired an investigative firm, Evolution
 9
     Architects (“Evolution”), to investigate the extent of damage at the Lake View West condominium
10
     complex. Subsequent to the claims tender, Evolution in conjunction with Travelers’ consultants
11
     performed a Joint Intrusive Investigation at the Lake View West condominium complex. This
12

13 investigation revealed extensive hidden damage to sheathing, framing, and weather resistive

14 barrier throughout the property attributable to long term, incremental and progressive water

15 damage. According to the Association’s experts, the cost to repair the hidden damage at the Lake

16
     View West condominium complex exceeds the jurisdictional limit of $75,000.
17
     4.3    Travelers Denial. On July 19, 2021 Travelers unreasonably denied the Association’s claim.
18

19            V.   FIRST CLAIM AGAINST THE LAKE VIEW WEST INSURERS:
           DECLARATORY RELIEF THAT THE LAKE VIEW WEST POLICIES PROVIDE
20                                  COVERAGE
21 5.1      Incorporation by Reference. The Association re-alleges and incorporates by reference the

22 allegations of paragraphs 1.1 through 4.3, above, as if fully set forth herein.

23 5.2      Declaratory Relief. The Association seeks declaratory relief from the Court in the form of

24 determinations regarding the following disputed issues:

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26

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 1          (A)    The Lake View West Policies cover the hidden damage to exterior building

 2 components including but not limited to exterior sheathing, framing, and weather resistive barrier

 3 at the Lake View West condominium complex.

 4          (B)    No exclusions, conditions, or limitations bar coverage under the Lake View West

 5 Policies.

 6          (C)    The loss or damage to Lake View West condominium complex was incremental

 7 and progressive. New damage commenced during each year of the Lake View West Policies.

 8          (D)    As a result, the Lake View West Policies cover the cost of investigating and

 9 repairing the hidden damage to exterior building components including but not limited to exterior

10 sheathing, framing, and weather resistive barrier at the Lake View West condominium complex.
                      VI.   SECOND CLAIM: AGAINST TRAVELERS FOR
11
                                     BREACH OF CONTRACT
12 6.1      Incorporation. The Association re-alleges and incorporates by reference the allegations of
13 paragraphs 1.1 through 5.2, above, as if fully set forth herein.

14 6.2      Travelers has contractual duties under the terms of its policy and/or policies to pay the cost
15 of investigating and repairing the covered damage to the Lake View West condominium complex.

16 6.3      Travelers breached its contractual duties by wrongfully denying coverage on July 19,
17 2021, and by failing to pay the cost of repairing the covered damage to the Lake View West

18 condominium complex.

19 6.4      As a direct and proximate result of Travelers’ breach of its contractual duties the
20 Association has been damaged in an amount to be proven at trial.

21 6.5      Additional Damages. As a direct and proximate result of Travelers’ breach of its
22 contractual duties, the Association has been forced to incur attorneys’ fees, expert costs,

23 investigation costs and other expenses in order to prosecute this action, the sole purpose of which

24 is to obtain the benefits of the Association’s insurance contracts.

25

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           VII.    THIRD CLAIM: AGAINST TRAVELERS FOR INSURANCE BAD FAITH
1
     7.1     Incorporation by Reference. The Association re-alleges and incorporates by reference the
2
     allegations of paragraphs 1.1 through 6.5, above, as if fully set forth herein.
3
     7.2     The business of insurance is one affected by the public interest, requiring that all persons be
4
     actuated by good faith, abstain from deception, and practice honesty and equity in all insurance
5
     matters. RCW 48.01.030. An insurer has a duty to act in good faith. This duty requires an insurer
6
     to deal fairly with its insured. The insurer must give equal consideration to its insured’s interest
7
     and its own interest and must not engage in any action that demonstrates a greater concern for its
8
     own financial interest than its insured’s financial risk. An insurer who does not deal fairly with its
9
     insurer, or who does not give equal consideration to its insured’s interest, fails to act in good faith.
10
     7.3     The duty of good faith requires an insurer to conduct a reasonable investigation before
11
     refusing to pay a claim submitted by its insured. An insurer must also have a reasonable
12
     justification before refusing to pay a claim. An insurer who refuses to pay a claim, without
13
     conducting a reasonable investigation or without having a reasonable justification, fails to act in
14
     good faith.
15
     7.4     Travelers had a duty to investigate, evaluate, and decide the Association’s claim in good
16
     faith. Travelers breached its duty by unreasonably investigating, evaluating, and/or denying the
17
     Association’s claim by, among other things: (1) failing to acknowledge that weather conditions
18
     such as rain or wind-driven rain were one of the causes of the hidden damage at the Lake View
19
     West complex; (2) failing to acknowledge that weather conditions such as rain and wind-driven
20
     rain are covered causes of loss under its policy(s); (3) failing to acknowledge that there is coverage
21
     under its policy(s) when damage results from a concurrent combination of rain and bad
22
     construction or wear and tear; (4) failing to acknowledge that there is coverage under the resulting
23
     loss clause in its policy(s); and (5) failing to define terms in the Travelers policy pursuant to the
24
     plain meaning of the terms. In addition, Travelers unreasonably delayed its investigation of the
25
     Association’s claim, refused to provide copies of insurance policies to the Association despite the
26

27
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 1 Association’s request, and unreasonably delayed in coming to a coverage determination. Travelers

 2 only issued a coverage determination after the Association accused Travelers of unreasonable

 3 delay in coming to a coverage position.

 4 7.5        A violation, if any, of one or more of the Washington claim handling standards set forth

 5 below is a breach of the duty of good faith, an unfair method of competition, an unfair or deceptive

 6 act or practice in the business of insurance, and a breach of the insurance contract. Travelers’

 7 conduct violated Washington claim handling standards:

 8         • Which require it to fully disclose all pertinent coverages.

 9         • Which prohibit misrepresentations regarding relevant facts (e.g. the cause of damages) or

10            coverage.

11         • Which require Travelers to provide a reasonable explanation of the relevant facts, law, and

12            policy language and how its policy language support a denial of the Association’s claim.

13         • Which require Travelers to adopt and implement reasonable standards for the prompt

14            investigation of claims.

15 7.6        Travelers’ actions and omissions, including but not limited to its denial of coverage , were

16 unreasonable, unfounded, and frivolous under the circumstances and constitute a breach of

17 Travelers’ duty of good faith. As a direct and proximate result of the breaches, the Association has

18 been damaged in an amount to be proven at trial.

19          VIII. FOURTH CLAIM: AGAINST TRAVELERS FOR VIOLATIONS OF THE
                                CONSUMER PROTECTION ACT
20
     8.1      Incorporation by Reference. The Association re-alleges and incorporates by reference the
21
     allegations of paragraphs 1.1 through 7.6, above, as if fully set forth herein.
22
     8.2      Violations of claims handling standards provided under the WAC are per se CPA violations.
23
     On information and belief, the conduct of Travelers was deceptive, impacted the public, and had
24
     the capacity to deceive. The Association is a consumer. As a direct and proximate result of
25
     Travelers violations, the Association has been damaged in an amount to be proven at trial. The
26

27
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 1 Association is entitled to damages, CPA penalties of up to $25,000.00 per violation, and attorneys’

 2 fees under the CPA.

 3                                      IX.      PRAYER FOR RELIEF

 4          WHEREFORE, the Association prays for judgment as follows:

 5 9.1      Declaratory Judgment Regarding Coverage. A declaratory judgment that the Lake View

 6 West Policies provide coverage as described herein.

 7 9.2      Money Damages. For money damages against each of the Lake View West Insurers for the

 8 cost of investigating and repairing hidden damage at the Lake View West condominium complex

 9 in an amount to be proven at trial, as well as money damages against Travelers for breach of the

10 duty of good faith in an amount to be proven at trial.

11 9.3      Attorneys’ Fees and Costs of Suit. For reasonable attorneys’ fees (including expert fees).

12 See Olympic Steamship Co. v. Centennial Ins. Co., 117 Wn.2d 37, 811 P.2d 673 (1991), and RCW

13 48.30.015.

14 9.4      CPA Penalties. For CPA penalties against Travelers of up to $25,000 per violation.

15 9.5     Other Relief. For such other and further relief as the Court deems just and equitable.

16                                 X.      DEMAND FOR JURY TRIAL

17 10.1     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Association demands trial

18 by jury in this action of all issues so triable.

19          Dates the 19th day of July, 2021.

20                                            STEIN, SUDWEEKS & STEIN, PLLC
21
                                              /s/ Daniel J. Stein
22                                            /s/ Justin D. Sudweeks
                                              /s/ Jerry H. Stein
23                                            /s/ Cortney M. Feniello
                                              Daniel J. Stein, WSBA #48739
24                                            Justin D. Sudweeks, WSBA #28755
                                              Jerry H. Stein, WSBA #27721
25                                            Cortney M. Feniello, WSBA #57352
                                              2701 First Avenue, Suite 430
26                                            Seattle, WA 98121
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